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1                                                                                 The Honorable Lauren King

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5                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
6                                         AT SEATTLE

7
      ABDIQAFAR WAGAFE, et al.,                           No. 2:17-cv-00094-LK
8
                                  Plaintiffs,             DEFENDANTS’ STATUS REPORT ON
9                                                         PROGESS FOR COMPLETING POLICY
          v.                                              REVIEW OF CARRP BY MAY 10, 2022
10
      JOSEPH R. BIDEN, President of the United
11    States, et al.,

12                                Defendants.

13             As set forth in the parties’ stipulated motion for a stay of proceedings, which the Court

14   entered on February 22, 2022, USCIS has undertaken an agency-wide internal review of its

15   policies and procedures for identifying and assessing national security risks presented in

16   immigration benefit applications, including applications for lawful permanent residence and

17   naturalization, known as the Controlled Application Review and Resolution Program

18   (CARRP). USCIS expects to complete this review by May 10, 2022. This is consistent with the

19   date of completion communicated to the Court in the parties’ stipulation.

20             Assuming final approval of the new policy by USCIS leadership, USCIS expects to

21   finalize a new policy that will supersede the CARRP policy shortly after May 10, 2022. After

22   the new policy is finalized, USCIS will continue efforts to develop accompanying training

23   materials, Standard Operating Procedures, and updates to electronic systems. The timeline for



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1    completion involves various contingencies, but once those materials and updates are complete or

2    substantially complete, USCIS will implement the new policy.

3           Concerning implementation of the USCIS moratorium on denials of class member

4    applications that was a provision of the stay ordered by the Court, USCIS encountered

5    unexpected difficulties when implementing the denial moratorium. It has identified at least 70

6    applications that were denied when they should have been held. USCIS has made additional

7    efforts to identify and flag cases in its systems to prevent further denials of cases subject to the

8    moratorium and expects these measures to minimize errors going forward. Defendants have

9    disclosed to Plaintiffs’ counsel information about prematurely denied applications that it has

10   identified and reviewed to ensure that they should have been held. Defendants are conferring

11   with Plaintiffs’ counsel regarding proposed remedies, including circumstances where reopening

12   a denial might not be in the applicant’s best interest.

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     Respectfully Submitted,
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     Dated: May 2, 2022
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     BRIAN M. BOYNTON                               ANNE POGUE DONOHUE
4    Principal Deputy Assistant Attorney General    Counsel for National Security
     Civil Division                                 National Security Unit
     U.S. Department of Justice                     Office of Immigration Litigation
5
     AUGUST FLENTJE                                 LINDSAY M. MURPHY
6    Special Counsel                                Senior Counsel for National Security
     Civil Division                                 National Security Unit
7                                                   Office of Immigration Litigation
     ETHAN B. KANTER
8    Chief National Security Unit                   VICTORIA M. BRAGA
     Office of Immigration Litigation               Trial Attorney
9    Civil Division                                 Office of Immigration Litigation

10   NICHOLAS BROWN                                 BRENDAN T. MOORE
     United States Attorney                         Trial Attorney
11                                                  Office of Immigration Litigation
     BRIAN C. KIPNIS
12   Assistant United States Attorney               JESSE L. BUSEN
     Western District of Washington                 Counsel for National Security
13                                                  National Security Unit
     W. MANNING EVANS                               Office of Immigration Litigation
14   Senior Litigation Counsel
     Office of Immigration Litigation               /s/ Leon B. Taranto
15                                                  LEON B. TARANTO
                                                    Trial Attorney
                                                    Torts Branch
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     Counsel for Defendants
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2                                       CERTIFICATE OF SERVICE

3              I hereby certify that on May 2, 2022, I electronically filed the foregoing with the Clerk of

4    the Court using the CM/ECF system, which will send notification of such filing to all counsel of

5    record.

6

7                                                    /s/ Anne Pogue Donohue__________
                                                     ANNE POGUE DONOHUE
8                                                    Counsel for National Security
                                                     National Security Unit
9                                                    Office of Immigration Litigation
                                                     Anne.P.Donohue@usdoj.gov
10                                                   (202) 305-4193

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